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Alvin C. Lin (NJ ID No. 017502000)
MORRISON COHEN LLP
alin@morrisoncohen.com
909 Third Avenue
New York, New York 10022
(212) 735-8600

Attorneys for Defendant
The Spamhaus Project S.L.U.


                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


 REDI-DATA, INC.,

                           Plaintiff,                        Case No. 2:20-CV-17484-JMV-JBC

               -against-                                     APPLICATION AND
                                                             CERTIFICATION OF
 THE SPAMHAUS PROJECT a/k/a THE                              ALVIN C. LIN IN SUPPORT
 SPAMHAUS PROJECT LTD.,                                      OF PRO HAC VICE ADMISSION
                                                             OF JEFFREY D. BROOKS
                           Defendant.

                                                         DOCUMENT ELECTRONICALLY FILED


       I, ALVIN C. LIN, declare as follows:

       1.        I am a member of the law firm of Morrison Cohen LLP (“Morrison Cohen”),

attorneys for Defendant The Spamhaus Project S.L.U. (“The Spamhaus Project”) in the above-

captioned litigation. I am fully familiar with the facts and circumstances surrounding the within

application.

       2.        I submit this certification in support of The Spamhaus Project’s application for an

Order admitting Jeffrey D. Brooks (the “Applicant”) pro hac vice pursuant to Local Rule 101.1.

       3.        I am a member in good standing of the bar of New Jersey and am admitted to

practice in this Court.
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        4.      As set forth more fully in his certification, Mr. Brooks is also a member of Morrison

Cohen LLP.

        5.      The Applicant has experience and specialized knowledge in handling the types of

issues in dispute in this matter.

        6.      The Spamhaus Project has requested that the Applicant represent it in this matter,

in which The Spamhaus Project intends to file a motion to dismiss for lack of personal jurisdiction.

        7.      I, or other attorneys of my firm admitted to practice before this Court, will sign all

pleadings, briefs, and other papers filed with the Court, and will attend all appearances and

hearings. I will ensure the Applicant’s compliance with Local Rule 101.1(c), and will be

responsible for the conduct of the cause and of the Applicant, should he be admitted by this Court.

        8.      Counsel for Plaintiffs has consented to the admission pro hac vice of the Applicant.

        9.      It is respectfully requested that the Applicant be admitted pro hac vice to practice

before this Court for the purpose of representing The Spamhaus Project in this matter.

I declare under penalties of perjury that the foregoing is true and correct.

Dated: December 23, 2021


                                                              /s/ Alvin C. Lin
                                                               Alvin C. Lin




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